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Write the full name of each: plaintiff.

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UNITED STATES DISTRICT coukl\
SOUTHERN DISTRICT OF NEW YORK

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Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical-to those
contained in Section Ih. ,

 

 

 

CV

{include case number if one has been...

 

COMPLAINT

Do you wanta jury trial?
(Yes No

 

 

  

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
$ full social security number or full
_ birth date; the fulf name of a person known to be a minor;-or a complete financial account , oa
number. A filing may include coly: the last four digits of a socia! security number; the year of
an individual's birth; a minor’s initials; and the last four digits of a financial account number.

with the court should therefore not contain: an individua?’

See Federal Rule of Civil Procedure 3.2.

Rev: 1/9/47

 

 

 
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_Case 1:20-cv-08728-CM Document 2 Filed 10/19/20 Page 2 of 13

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction {limited power). Generally, only two. types of:
cases can be heard in federal court: cases involving a federal question arid cases involving =
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising-under the. United. .
States Constitution or federal laws or treaties is a federal question case. Under 28 US. C.§: 1332, oo
a casé in which a citizen of one State sues a citizen of another State or nation, cand the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no- defendant may
be a citizen of the same State as any plaintiff.

Whats the basis for federal-court jurisdiction in your case?
(L-tederal Question: | ; —— . soon Ee
C Diversity of Citizenship | oO

A. if you checked Federal Question

Which of your federal constitutional or federal statutory rights have’ been violated?

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iB. ‘IE you checked Diversity of Citizenship
1. Citizenship of the parties |

of what State is each party a citizen? .

The plaintiff , ye "isa citizen of the State of .
(Plaintiff's name} ot .

 

 

(State in which the person resides and intends to remain.)

OT,, if not lawfully admitted for permanent residence i in the United States, a citizen or
subject of the foreign state of

“e

 

if more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff. 7

 

 

 

 

 

 

 

 
Case 1:20-cv-08728-CM Document 2 Filed 10/19/20. Page 3 of 13

if the defendant is an individual:

The defendant, - isa citizen of the State of
(Defendant’s name)

 

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or, if not lawfully admitted for permanent residence in nthe United States, a citizen or |
subject of the foreign state of _

 

lf the defendant is a corporation:

 

The defendant, __ _,is incorporated under the laws of

the State of

 

 

and has its principal place of business in the State of |

oris incorporated under the laws of (foreign state)

 

and has its principal place of business in

Fr rrore than one defendant i is named in the complaint, attach. additional pages providing
information for each additional defendant.

If. PARTIES

AL: Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

~vonw€ Pos. r

 

 

First Name Middle Initial Last Name
YO pw STREET
Street Address ; ne
VLA YORK WM 3 f003&
County, City State . _ Zip Code
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Telephone Number Email Address (if available)

 

 
4A |. Case 1:20-cv-08728-CM Document 2 Filed 10/19/20 Page 4 of 13

 

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. if the:
correct information is not provided, it could delay or prevent service of the complaint on the.
defendant. Make sure that the defendants listed below are the same as those listed i in the
caption. Attach additional pages if needed.

Defendant 1: US Givernment
First Name Last Name -

 

 

Current Job Title (or other identifying information) -

 

Current Work Address {or other address where defendant may be served)

 

 

County, City State | Zip Code
Defendant2: {UV ¥ PD

First Name Last Name |

 

Current Job Title (or other identifying information),

 

Current Work Address (or other address where defenda nt may be served)
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County, City . State © - Zip Code

 

Defendants: AS  Suffeme Coun |
FirstName. Last Name.

 

Current Job Title (or other identifying information}

 

Current Work Address (or other address where defendant may be served)
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‘ a Case 1:20-cv-08728-CM Document 2 Filed 10/19/20 Page5o0f13..........

   

Defendant A Fated Comp Mea NA ee

First Name. Last Name

 

Current Job Title (or other identifying information)

 

 

Current Werk Address (or other address where defendarit may be served}

 

 

County, City . oP State . : : Zip Code

 

UL STATEMENT OF CLAIM

 

 

Place(s) of occurrence: —_— Ce a a hy Te ate

 

 

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Date(s) of Occurrence. oa “at = : e - Loe jew a os .. . : o ao
ae rd ~ atte Poe * feet
FACTS: — — go “te.

State here briefly the FACTS that support yout case. Describe what happened, how you were .
harmed, and what each defendant personally did or failed to do that: harmed you. Attach

 

 

 

    
  

 

 

 

 

 

additional pages if needed. . f
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INJURIES:

~ Hf you were injured as a resu: of these actions, describe your injuries and what medical
‘eatinent, ifany, you requirsd and received. , -

 

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State briefly what money dzinages or other relief you want the court to order.

  

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“V. PLAINTIFF’S CERTIFICATION AND WARNINGS.

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the .

complaint is not being presented for an improper purpose (such as to harass, cause -
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by a nonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified; will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure il.

I agree to notify the Clerk’ s Office in writing of any changes.to my mailing address. I
understand that my failure to keep a current address on file with ¢ the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP. application.

“Plaintiff's Signature

 

 

 

 

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‘ complaint. If you do not consent, please do not attach the form. -

Page 7

 

 

 

 
 

 

 
